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EXHIBIT A

 
Case 2:10-cv-02192-SRC-MAS Document 1-1 Filed 04/28/10 Page 2 of 42 PagelD: 8

 

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SMITH, SMITH & CURLEY, P.C.
149 Avenue At The Common
Shrewsbury, New Jersey 07702
(732) 935-7246

Attorneys for Plaintiff

 

 

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: SUPERIOR COURT OF NEW JERSEY
BRIAN CARSON : LAW DIVISION: MONMOUTH COUNTY
: DOCKET NO.: MON-L-958-10
Plaintiff,
Civil Action

Vv.

CAREONE, LLC, KING JAMES CARE :

CENTER OF MIDDLETOWN, LLC :

alkia CAREONE AT KING JAMES, : SUMMONS
KING JAMES ACQUISITION
COMPANY, LLC, MICHAEL GENTILE
AND ABC COMPANIES (1-10)

Defendants.

 

THE STATE OF NEW JERSEY TO:

KING JAMES ACQUISITION COMPANY, LLC
c/o Kevin Breslin
173 Bridge Plaza North
‘Fort Lee, NJ 07024

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of
New Jersey. The Complaint attached to this Summons states the basis for this lawsuit.
If you dispute this Complaint, you or your attorney must file a written answer or motion and
proof of service with the deputy clerk of the Superior Court in the county listed above within
35 days from the date you received this Summons, not counting the date you received it.
lf the complaint is one in foreclosure, then you must file your written answer or motion and
proof of service with the Clerk of the Superior Court, eighes Justice Complex, CN-9771,
Trenton, NJ 08625. A filing fee payable to the Clerk of the Superior Court and a
completed Case Information Statement (available from the deputy clerk of the Superior
Court) must accompany your answer or motion when itis filed. You must also send a copy
of your answer or motion to plaintiffs’ attorney whose name and address appear above, or
to plaintiffs, if no attorney is named. A telephone call will not protect your rights; you must
file and serve a written answer or motion (with fee and completed Case Information
Statement) if you want the court to hear your defense.

 

 

 
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If you do not file and serve a written answer or motion within 35 days, the court may
enter a judgment against you for the relief plaintiffs demand, plus interest and costs of suit.
If judgment is entered against you, the Sheriff may seize your money, wages or property
to pay all or part of the judgment.

If you cannot afford an attorney, you may call the Legal Services office in the county
where you live. A list of these offices is provided, If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one
of the Lawyer Referral Services. A list of these numbers is also provided.

Dated: March 23, 2010
/s/ Jennifer M. Perez

JENNIFER M. PEREZ,

Acting Clerk of the Superior Court

Name of Defendants to be served: KING JAMES ACQUISITION COMPANY, LLC
Address for Service: c/o Kevin Breslin

173 Bridge Plaza North
Fort Lee, NJ 07024

‘$135.00 FOR CHANCERY DIVISION OR FOR LAW DIVISION CASES

 

 

 
Case 2:10-cv-02192-SRC-MAS Document 1-1 Filed 04/28/10 Page 4 of 42 PagelD: 10

SMITH, SMITH & CURLEY, P.C.
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(732) 935-7246

Attorneys for Plaintiff

 

xX
: SUPERIOR COURT OF NEW JERSEY
BRIAN CARSON : LAW DIVISION: MONMOUTH COUNTY
: DOCKET NO.: MON-L-958-10
Plaintiff, .
. Civil Action

Vv.

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KING JAMES ACQUISITION :
COMPANY, LLC, MICHAEL GENTILE :
AND ABC COMPANIES (1-10)

Defendants.

 

THE STATE OF NEW JERSEY TO:

CAREONE, LLC
c/o Kevin Breslin
173 Bridge Plaza North
Fort Lee, NJ 07024

4

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of
New Jersey. The Complaint attached to this Summons states the basis for this lawsuit.
lf you dispute this Complaint, you or your attorney must file a written answer or motion and
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of your answer or motion to plaintiffs' attorney whose name and address appear above, or
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Case 2:10-cv-02192-SRC-MAS Document 1-1 Filed 04/28/10 Page 5 of 42 PagelD: 11

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If judgment is entered against you, the Sheriff may seize your money, wages or property
to pay all or part of the judgment.

If you cannot afford an attorney, you may call the Legal Services office in the county
where you live. A list of these offices is provided. If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one
of the Lawyer Referral Services, A list of these numbers is also provided.

Dated: March 23, 2010
/s/ Jennifer M. Perez
JENNIFER M. PEREZ,
Acting Clerk of the Superior Court

Name of Defendants to be served: CareOne, LLC
Address for Service: c/o Kevin Breslin

173 Bridge Plaza North
Fort Lee, NJ 07024

"$135.00 FOR CHANCERY DIVISION OR FOR LAW DIVISION CASES

 

 

 
Case 2:10-cv-02192-SRC-MAS Document 1-1 Filed 04/28/10 Page 6 of 42 PagelD: 12

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Attorneys for Plaintiff

 

X
: SUPERIOR COURT OF NEW JERSEY
BRIAN CARSON — : LAW DIVISION: MONMOUTH COUNTY
: DOCKET NO.: MON-L-958-10
Plaintiff,
Civil Action

Vv.

CAREONE, LLC, KING JAMES CARE :
CENTER OF MIDDLETOWN, LLC :
a/kia CAREONE AT KING JAMES, : SUMMONS
KING JAMES ACQUISITION :
COMPANY, LLC, MICHAEL GENTILE :
AND ABC COMPANIES (1-10)

Defendants.

 

THE STATE OF NEW JERSEY TO:

KING JAMES CARE CENTER OF MIDDLETOWN, LLC
alkia CAREONE AT KING JAMES
c/o Kevin Breslin
173 Bridge Plaza North
Fort Lee, NJ 07024 st '

The plaintiff, named above, has filed a lawsuit against you in the Superior Court of
New Jersey. The Complaint attached to this Summons states the basis for this lawsuit.
If you dispute this Complaint, you or your attorney must file a written answer or motion and
proof of service with the deputy clerk of the Superior Court in the county listed above within
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If the complaint is one in foreclosure, then you must file your written answer or motion and
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where you live. A list of these offices is provided. [f you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one
of the Lawyer Referral Services. A list of these numbers is also provided.

Dated: March 23, 2010
/s/ Jennifer M. Perez
JENNIFER M. PEREZ,
Acting Clerk of the Superior Court

Name of Defendants to be served: KING JAMES CARE CENTER OF
MIDDLETOWN, LLC a/k/a CAREONE
AT KING JAMES
Address for Service: c/o Kevin Breslin’
"+. 473. Bridge Plaza North:
Fort Lee, NJ 07024

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"$135.00 FOR CHANCERY DIVISION OR FOR LAW DIVISION CASES

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Case 2:10-cv-02192-SRC-MAS Document 1-1 Filed 04/28/10 Page 8 of 42 PagelD: 14

SMITH, SMITH & CURLEY, P.C. | )
149 Avenue At The Common 1 | FEB gd 2010
Shrewsbury, New Jersey 0770

 

(732) 935-7246 . PS App
Attorneys for Plaintiff Nene LE gt
x
: . SUPERIOR COURT OF NEW JERSEY
BRIAN CARSON "LAW DIVISION: MONMOUTH COUNTY
Plaintiff, : ~
: DOCKET NO.: PSS /0

Vv.
Civil Action

CAREONE, KING JAMES CARE :

CENTER OF MIDDLETOWN, LLC a/k/a: COMPLAINT

CAREONE AT KING JAMES, MICHAEL  .

GENTILE AND ABC COMPANIES (1-10) .

Defendants. :
X

 

_ Plaintiff Brian Carson (hereafter “Plaintiff’) residing at 3 Berry Street, Keansburg,
New Jersey 07734, by way of Complaint against CareOne, King James Care Center of
Middletown, LLC a/k/a CareOne at King James, Michael Gentile and ABC Companies (1-
10) (collectively herein referred to as Defendants") says:

FACTS COMMON TO ALL COUNTS
1, Defendant CareOne is a family-owned and operated health care continuum
providing post-acute rehabilitation, long term and assisted living care, respite care, and
memory care throughout New Jersey (“CareOne”).
7 2 Defendant King James Care Center of Middletown, LLC a/k/a CareOne At

King James is one of CareOne’s locations with a business address of 1040 Route 36,

Atlantic Highlands, NJ 07716 ("King James”).
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3. Defendant ABC Companies (1-10) are fictitious Sole proprietorships,
companies, limited liability companies, corporations, partnerships, and/or other
companies/entities who are unknown to Plaintiff at this time but who may be identified
during discovery in this matter, which persons and/or companies are related, affiliated
and/or successors to CareOne and liable to Plaintiff as Plaintiff's employer for the reasons
set forth herein. |

40 Defendant Michael Gentile was employed by CareOne as the Administrator
at the King James location at all times relevant in this matter. Upon information and belief,
Defendant Gentile resides in New Jersey.

5, Plaintiff began his employment with CareOne and King James at the King
James location in or about December, 2006 in the position of maintenance assistant.

6, In or about August, 2007, Plaintiff was promoted to the position of
Maintenance Director. In his new position, Plaintiff was the supervisor of approximately
fifteen (15) employees.

7, Plaintiff performed very well in the position of Maintenance Director. In fact,
Plaintiff was recognized by CareOne as the “Employee of the Month” on two separate
occasions in 2007. |

8. - In or about January, 2008, Plaintiff was given an additional title of
Environmental Services Director, Despite the new title, Plaintiff continued as the
Maintenance Director and remained the supervisor of approximately fifteen (15)

employees.

9. In or about August, 2008, Plaintiff sustained a broken leg. Asa result of the
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injury, Plaintiff requested a leave of absence from work to obtain medical treatment and to
recover from his injury.

10. | However, approximately two (2) weeks into his medical leavé, Defendant
Gentile telephoned Plaintiff and demanded that he immediately return to work. Plaintiff
responded that he was unable to return to work because of his broken leg and the doctor
had yet to clear him to return to work. Defendant Gentile responded that he did not care

and if Plaintiff wanted his job, he must immediately return to work.

11. Asaresult of Defendant Gentile’s threat of termination, Plaintiff was forced to

return to work prior to making a full recovery and receiving medical clearance from his

doctor to return to work.

12. After returning to work, Defendant Gentile denied Piaintiff's requests for
intermittent leave so he could attend his doctor appointments and physical therapy
sessions for his broken leg during work hours. . Defendant Gentile advised Plaintiff that he
needed to schedule his doctor appointments and physical therapy sessicns outside his
regular work hours. In response to Plaintiff advising Defendant Gentile that all his doctor
appointments and physical therapy sessions could not be scheduled outside his regular

work hours, Defendant Gentile stated, “That's your problem.”

13. As a result of Defendants’ denial of Plaintiff's requests for medical. leave

necessary to make a full recovery from his broken leg, Plaintiff developed a blood clot in

his broken leg in or about October, 2008.
14. As a result of developing a blood clot, Plaintiff applied for FMLA leave on or

about October 17, 2008.
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15. After learning that Plaintiff applied for FMLA leave as a result of the blood
clot, Defendant Gentile reprimanded Plaintiff by stating, “How dare you do this, after all |

have done for you?” Defendant Gentile further told Plaintiff, that he had “lost all respect”

for Plaintiff and “trust” in Plaintiff.

16. In or about January, 2008, Plaintiff returned to work from his FMLA leave.

17. Upon his return to work, Defendant Gentile advised Plaintiff that, as a result
of him taking FMLA leave, Plaintiff was no longer the Maintenance Director and was
stripped of all supervisory responsibilities. Plaintiff also learned that Defendants hired Mr.
John Chiapetta and placed hirn in Plaintiffs position of Maintenance Director during
Plaintiffs FMLA leave and that Plaintiff now had to directly report to Mr. Chiapetta.

18. Plaintiff complained and objected to Defendants for demoting Plaintiff and
retaliating against him for taking FMLA leave, In response to Piaintiff's, complaints,
Defendant Gentile advised Plaintiff that, “| can do whatever | want.” Defendant Gentile
also warned Plaintiff that he was “going to see to it that you fail.”

19, Plaintiff complained to the human resource manager at King James, Eric
Russell, concerning Defendant Gentile’s harassment and Defendants’ decision to demote
Plaintiff in retaliation for taking FMLA leave. In response to Plaintiff's complaints,. Mr.
Russell informed Plaintiff that, "! am not getting involved.”

-20.. As. a result, Plaintiff then complained to a regional. HR representative
concerning Defendant Gentile’s harassment and Defendants’ decision to demote Plaintiff
in retaliation for taking FMLA leave. The assigned HR.representative responded that she

would “look into it” and would “get back” to.him. Plaintiff, however, never received any
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further communication from this HR representative in response to his complaints.

21.. Additionally, true to his word, Defendant Gentile made every effort to see to it
that Plaintiff, fail.

. 22,, . Additionally, Defendant Gentile constantly mocked Plaintiff as a result of his
disability and routinely.cursed at Plaintiff, by yelling “move f***ing faster” and “stop f***ing
procrastinating.” Gentile began assigning Plaintiff tedious, unnecessary and .unduly
burdensome job assignments. For instance, Defendant Gentile began requiring that
Plaintiff fill out a Maintenance Room Check List that Defendant Gentile specifically created
for Plaintiff to fill out for every room that he was required to check and make ready.

23.  Inorabout June, 2009, Plaintiff slipped on the wet floor at work and suffered
an injury to his knee. As a result of his injury, Plaintiff's doctor recommended that Plaintiff
be placed on light duty, including no climbing, lifting, pushing or pulling of anything over 20
pounds.
- 24. As a result of his injury and doctor's orders, Plaintiff requested that
Defendants provide him light duty job assignments and that any duties Plaintiff was unable
to perform asa result of his disability be reassigned to another employee.

25. Plaintiff's request for the aforesaid reasonable accommodations was denied
by Defendants. -
© 26. Around the time Plaintiff suffered his knee injury, Plaintiff's supervisor, John
Chiapetta, instructed Plaintiff to stop filling out the Maintenance Room Check List so that
he.had more time to complete other job duties that Mr. Chiapetta advised were “more

important.” Despite Mr, Chiapetta’s instruction, Plaintiff received a written warning on -
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August 4; 2009 from Defendant Gentile for failing to timely complete the Maintenance
Room Check Lists. |
27. Despite his disabilities, medical leave and constant harassment and
retaliation directed at him from Defendant Gentile for same, Plaintiff's job performance was
' always “good” to “outstanding.”
28. Infact, in the fall, 2009, Plaintiff was told that he would receive a raise. In an
email to Plaintiff dated October 2, 2009, Defendant Gentile wrote:
Brian, based upon my records, your annual review and 2%
increase is over due. Further review of same supports the
need to adjust your increase effective date to May 09 due to
your leave of absence from work from 10/19/08 to 1/05/09. As
such, your increase will be effective and retroactive to May 09.
| will prepare your annual review with John and present it to

you sornetime next week, Please see me if you have any
questions.

29. Thereafter, Plaintiff was provided a performance appraisal which rated
Plaintiff's work performance as “good” or “outstanding” in all categories.

30. Despite. Plaintiff's “good” to “outstanding” work performance, Defendant
Gentile continued to harass and retaliate against Plaintiff as a result of his disability,
medical leaves, requests for reasonable accommodations and complaints of Defendant
Gentile relating to same. |

3t, Plaintiff continued to complain to Defendant about. Gentile’s conduct,
Despite Plaintiff's complaints, no one from CareOne did anything to assist Plaintiff,
investigate Plaintiff's complaints or stop Defendant Gentile’s harassmentand retaliation of
Plaintiff.

32: On November 9, 2009, Plaintiff was reprimanded by his supervisor John
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Chiapetta for refusing to lie to the Director of Nursing by telling them that Mr. Chiapetta was
present at work, when in fact, he had not yet arrived at work. As a result of the incident,
Plaintiff was suspended for one’ day by Defendants.

33. Later that day, Plaintiff telephoned CareOne’s HR Department and
complained to Ms. Karen Ashmore about Defendant Gentile’s continued harassment and
retaliation and to further inquire as to the reasons why he was being suspended. During
the telephone call, Plaintiff also requested that Ms. Ashmore investigate and stop the
ongoing harassment and retaliation directed at him by Defendant Gentile. Ms. Ashmore
responded that she would look into it and call him back.

34, Approximately one hour after complaining to Ms. Ashmore, Defendant Gentile
telephoned Plaintiff and advised him that he was now being suspended for an additional
day for complaining to HR. Defendant Gentile further advised Plaintiff that he was also
being required to attend a meeting with Defendant Gentile at 3:00 p.m. the following day.

35. After speaking with Defendant Gentile and being suspended an additional.
day in retaliation for his complaints, Plaintiff telephoned Ms, Ashmore to complain about
the additional suspension of one day and to repeat his complaints concerning Defendant
Gentile’s harassment and retaliation. In response, Ms. Ashmore advised Plaintiff that there
was nothing she could do to assist him. As a result, Plaintiff requested that Ms. Ashmore
provide him a name of someone who could assist him. Ms. Ashmore responded that
Plaintiff could try bringing his complaints to Mr. Kenneth Keegen.

_ 36... Prior to his meeting with Defendant Gentile, Plaintiff wrote a letter to Mr.

Keegen repeating his complaints.concerning Defendant Gentile’s continued harassment
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and retaliation of Plaintiff as a result of his disability, medical leave and requests for

‘ accommodations. In this letter, Plaintiff wrote: °

_ “The reason | am writing to you is to inform you of the ongoing

_ harassment and retaliation directed toward me and to request
your assistance to make it stop. | have made previous

_ complaints to my supervisors, local human resource
representative and regional human resource representative.
Despite my complaints, nothing has been done and the
harassment and retaliation continues to escalate.

| have been harassed and retaliated against since | was forced
to take a medical leave as a result of a broken leg sustained in

August, 2008....
37. — Plaintiff's letter further reads:

The ongoing harassment/retaliation has caused me to sustain

severe chest pains, stress and anxiety. | have been prescribed

xanax and ambien by my doctor. The stress and anxiety | am

under at work has caused tremendous hardship at home with

my wife and with my children. My performance evaluations

show that | am an outstanding employee of Care One. | only

request the assistance that | am entitled to under the law and

for the harassment/retaliation to stop. | recommend that Mr.

Gentile undergo sensitivity training and for him to be informed
and understand his obligations under the law.

38, Atthe meeting, Plaintiff was told by Defendant Gentile that he was aware that

Plaintiff wrote a letter to CareOne’s corporate office, and as a result, he was now

suspended indefinitely. -

39. The next day, Plaintiff received a phone call from Defendant Gentile advising

him that he was terminated.

40. Noone from CareOne contacted Plaintiff to discuss his complaints and/or

allegations in his letter. Instead, Defendant terminated Plaintiff. |

41. In a letter dated November 12, 2009, Defendant Gentile wrote to Plaintiff

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concerning Defendants’ reason for his termination as follows:
We have now completed a full review of your overall job
performance, This letter is to inform you that based on our
review, your employment with CareOne at King James has
been terminated due to continued unsatisfactory job
performance. .

42, As a result of Defendants’ conduct, Plaintiff has suffered physical injury,

emotional distress, economic loss and other compensatory damages. _
FIRST COUNT
NEW JERSEY LAW AGAINST DISCRIMINATION - DISABILITY DISCRIMINATION
N.J.S.A. 10:5-1 et seq. (“NJLAD”)

43. Plaintiff repeats and realleges each of the prior allegations of the within
Complaint as if set forth at length herein.

44, During his employment, Plaintiff suffered from a broken leg, a blood cot
(which formed in the broken leg), and a sprained knee.. The aforesaid conditions
constitute disabilities and/or handicaps under the NJLAD. .
| 45. Defendants took adverse employment actions against Plaintiff, including,
harassing Plaintiff, demoting Plaintiff, denying Plaintiffs requests for reasonable
accommodations, and terminating Plaintiffs employment, as a result of Plaintiff's
disabilities.

46.  Theaforesaid adverse employment actions taken by Defendants because of
Plaintiff's disabilities are a violation of the NJLAD.

47, Defendant Gentile participated in, condoned, ratified, perpetuated, conspired,

incited, coerced, induced and/or aided and abetted the NJLAD violations.
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48. As a result cf Defendants’ conduct, Plaintiff has suffered physical injury,

emotional distress, economic loss and other compensatory damages.

WHEREFORE, Plaintiff, demands judgment against Defendants for harm suffered
due to the aforesaid NULAD violations as follows:
a. __ Back pay and benefits:

b, Front pay and benefits:

on Compensatory damages;

d. Consequential damages;

8. Punitive damages;

f, Pre-judgment interest and enhancements to off-set negative tax
consequences; :

g... Any and all attorneys fees, expenses and/or costs, including, but not limited

to, court costs, expert fees and all attorneys fees incurred by plaintiff in the
'. prosecution of this suit (including enhancements, thereof required to off-set
negative tax consequences and/or enhancements otherwise permitted under

law); and

oh Such other relief as may be available pursuant to the NJLAD and which the
Court deems just and equitable.

SECOND COUNT
NJLAD - RETALIATION
49, Plaintiff repeats and realleges each of the prior allegations of the within
Complaint as if set forth at length herein.
50. As set forth above, Defendants’ conduct and/or treatment of Plaintiff, -
including the termination of his employment, were in retaliation for the protests and
complaints Plaintift made concerning disabity dlisrimination retaliation, ‘allure to |

10°.
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reasonably accommodate his disabilities, the hostile work environment and other illegal
and discriminatory conduct directed toward him by Defendants.

51. Defendant Michael Gentile condoned, ratified, perpetuated, conspired,
incited, coerced, induced and/or aided and abetted the retaliatory conduct and actions
taken against Plaintiff.

52. Said actions violate the NJLAD.

53. Byreason of the actions complained of above, Plaintiff has suffered physical
injury, emotional distress, economic loss and other compensatory damages. |

WHEREFORE, Plaintiff demands judgment against Defendants for harm suffered
due to the aforesaid NJLAD violations as follows:

a, Back pay and benefits;

b. Front pay and benefits,

—¢, Compensatory damages;
dq Consequential damages;
e. Punitive damages;
ff, Pre-judgment interest and enhancements to off-set negative tax
consequences;

Any and all attorneys fees, expenses and/or costs, including, but not limited
to, court costs, expert fees and all attorneys fees Incurred by plaintiff in the
prosecution of this suit (including enhancements thereof required to off-set
- negative tax consequences and/or enhancements otherwise permitted under

law); and

Such other relief as may be available pursuant to the NJLAD and which the
Court deems just and equitable.

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THIRD COUNT
NJLAD - FAILURE TO REASONABLY ACCOMMODATE,

54, Plaintiff repeats and realleges each of the prior allegations of the within

Complaint as if set forth at length herein.

55. At times during his employment, Plaintiff required and requested light duty
and several medical leaves of absence from work as a result of his disabilities/nandicaps.

56. Defendants were legally required to reasonably accommodate Plaintiff's
handicaps/disabilities, but failed to do so.

57. Defendants were also legally required to engage with Plaintiff in an interactive
process to determine what reasonable accommodations could be provided to Plaintiff,

58. Plaintiff performed his job duties in a “good” or “outstanding” manner.

59. With a reasonable accommodation, such as permitting Plaintiff to take the
requested leaves of absence or providing Plaintiff light duty tasks/responsibilities, Plaintiff
would have been able to return and/or continue to work and perform the essential functions
of his job.

60. Defendants’ failure to reasonably accommodate Plaintiff caused Plaintiff to
suffer physical injuries and adverse job consequences in the form of a demotion which
resulted in the loss of his job status and supervisory responsibilities and, eventually, the

termination of his employment with Defendants.

61. The Defendants’ failure to reasonably accommodate Plaintiff constitutes a

violation of the NJLAD. .

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62, Defendant Michael Gentile participated in, condoned, ratified, perpetuated,
conspired, incited, coerced, induced and/or aided and abetted the NJLAD violations.

63. By reason of the actions complained of above, Plaintiff has suffered physical
injury, emotional distress, economic loss and other compensatory damages.

WHEREFORE, Plaintiff demands judgment against Defendants for harm suffered
due to the aforesaid NJLAD violations as follows:

a, Back pay and benefits;

b. Front pay and benefits;

C. Compensatory damages;

d. Consequential damages;

e. Punitive damages;

f. Pre-judgment interest and enhancements to off-set negative tax
consequences;

g. Any and all attorneys fees, expenses and/or costs, including, but not limited

- to, court costs, expert fees and all attorneys fees incurred by plaintiff in the
prosecution of this suit (including enhancements thereof required to off-set
negative tax consequences and/or enhancements otherwise permitted under

law); and

h. Such other relief as may be available pursuant to the NULAD and which the
Court deems just and equitable,

FOURTH COUNT
NJLAD — HOSTILE WORK ENVIRONMENT

64. Plaintiff repeats and realleges each of the prior allegations of the within

Complaint as if set forth at length herein.

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65.

Defendants’ acts as set forth herein constitute a severe and pervasive hostile

work environment based upon disability in violation of the NJLAD.

66.

Defendant Michael Gentile participated in, condoned, ratified, perpetuated,

conspired, incited, coerced, induced and/or aided and abetted the NJLAD violations.

67.

As a result of the hostile work environment, Plaintiff has suffered physical

injury, emotional distress, economic loss and other compensatory damages.
g

WHEREFORE, Plaintiff demands judgment against Defendants for harm suffered

due to the aforesaid NJLAD violations as follows:

a,

Back pay and benefits:
Front pay and benefits;
Compensatory damages;
Consequential damages;

Punitive damages;

Pre-judgment interest and enhancements to off-set negative tax
consequences;

Any and all attorneys fees, expenses and/or costs, including, but not limited
to, court costs, expert fees and ail attorneys fees incurred by plaintiff in the
prosecution of this suit (including enhancements thereof required to off-set

negative tax consequences and/or enhancements otherwise permitted under

law): and

Such other relief as may be available pursuant to the NJLAD and which the
Court deems just and equitable.

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FIFTH COUNT

VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT
29 U.S.C, § 2601, et seq.

68. Plaintiff repeats and realleges each of the prior allegations of the within

complaint as if set forth at length herein.

69. Asa result of Plaintiff's serious medical conditions, including his broken leg
and blood clot formed in his broken leg, Defendants were required to advise Plaintiff of his
medical leave rights and to permit Plaintiff to take medical leave in accordance with the
Family and Medical Leave Act, 29 U.S.C. § 2601, et. seq, (“FMLA”).

70. At all relevant times, CareOne was an employer within the meaning of the

FMLA

71. At all relevant times, Plaintiff was an eligible employee within the meaning of
the FMLA. | —_

72. Plaintiff did not understand his rights under the FMLA.

73. By their actions, Defendants unlawfully interfered with, restrained, retaliated
against and denied the exercise of and/or Plaintiff's ability to exercise rights provided by
the FMLA. Plaintiff has been prejudiced by Defendants’ FMLA violations.

74, Defendant Michael Gentile participated in, condoned, ratified, perpetuated,
conspired, incited, coerced, induced and/or aided and abetted the FMLA violations.

75, The aforesaid conduct by Defendants was, and is, a willful violation of the

FMLA.
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76. As a direct and proximate result of Defendants’ willful violation of the FMLA,
Plaintiff has suffered physical injury, emotional distress, economic loss and other

_ compensatory damages.

WHEREFORE, Plaintiff demands judgment against Defendants for harm suffered
due to the aforesaid FMLA violations as follows:
A. Compensatory damages equal to all wages, salary, employment benefits,
and other compensation denied or lost by Plaintiff, pursuant to 29 U.S.C.
§2677(a)(1)(A)(i)(1);
B, Pre-judgment interest pursuant to 29 U.S.C. §2617(a)(1)(A)(ii);
C. Liquidated damages pursuant to 29 U.S.C. §2617(a)(1)(A) (iii);

D.- Attorneys fees, expert witness fees and costs pursuant to 29 U.S.C.
§2617(a)(3);

E, Post-judgment interest and enhancements to off-set negative tax
-. consequences; and

F. Such further relief as the Court deems equitable and just.
Pn SIXTH COUNT
BREACH OF CONTRACT
77, — Plaintiff repeats and realleges each of the prior allegations of the within

Complaint as if set forth at length herein.

78. Onor about October 2, 2009, Plaintiff was promised by Defendants that he
would receive a 2% increase in his salary, retroactive from May, 2009.

79, Despite its contractual obligation to pay Plaintiff d 2% increase of his salary
retroactive from May, 2009, Defendants failed to pay same in accordance therewith,

80. Plaintiff has been damaged by Defendants’ breach of contract.

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WHEREFORE, Plaintiff, demands judgment against Defendants, as follows:
A. Back pay and benefits;

B Front pay and benefits;

Cc Compensatory damages;

D. Consequential damages;

E Punitive damages;

F, Attorneys fees, interest, expenses and/or costs; and

GS. Such other relief as may be available and which the Court deems just and

equitable.
SMITH, SMITH & CURLEY, P.c.

DATED: February 18, 2010 BY: Cornet

CHRISTOPHER J. EIBELER
Attorney for Plaintiff

JURY DEMAND

Plaintiff herein demands trial by jury on all issues so triable.

SMITH, SMITH & CURLEY, P.C,

DATED: February 18, 2010 BY: Cy y Pot

CHRISTOPNER J. EIBELER
Attorney for Plaintiff

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CERTIFICATION
Pursuant to Rule 4:5-1, it is hereby stated to the best of my knowledge and belief
that the matter in controversy is not the subject of any other action pending or
contemplated in any other court or of a pending arbitration proceeding. Further, Plaintiff is
unaware of any non-party who should be joined in the action pursuant to R. 4:28 or who is

subject to joinder pursuant to R. 4:29-1(b) because of potential liability to any party on the

basis of the same transactional facts.

SMITH, SMITH & CURLEY, P.C.

DATED: February 18, 2010 BY: \ Che

CHRISTOPHER J, EIBELER
Attorney for Plaintiff

DESIGNATION OF TRIAL COUNSEL

Pursuant to Rule 4:25-4, Robert W. Smith, Esq. is designated as trial counsel for the

t

above captioned matter.

SMITH, SMITH & CURLEY, P.C.

DATED: February 18,2010 BY: CAYEVE |

CHRISTOPHER J. EIBELER
Attorney for Plaintiff

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SMITH, SMITH & CURLEY, P.C.
149 Avenue At The Common
Shrewsbury, New Jersey 07702
(732) 935-7246

Attorneys for Plaintiff

 

 

X
, : SUPERIOR COURT OF NEW JERSEY
BRIAN CARSON : LAW DIVISION OF MONMOUTH COUNTY
Plaintiff, | : DOCKET NO. MON-L-958-10
Vv. ; : oo Civil Action
CAREONE, LLC, KING JAMES CARE ; FIRST AMENDED COMPLAINT
CENTER OF MIDDLETOWN, LLC alk/a :
CAREONE AT KING JAMES, KING
‘JAMES ACQUISITION COMPANY,
LLC, MICHAEL GENTILE AND ABC
COMPANIES (1-10)
Defendants.
X

 

Plaintiff Brian Carson (hereafter “Plaintiff’) residing at 3 Berry Street, Keansburg,
New Jersey 0734, by way of Complaint against CareOne, LLC, King James Care Center
of Middletown, LLC a/k/a CareOne at King James, King James Acquisition Company, LLC,
Michael Gentile and ABC Companies (1-10) (collectively herein referred to as
“Defendants”) says:

FACTS COMMON TO ALL COUNTS |

1 Defendants CareOne, LLC, King James Care Center of Middletown, LLC
alkla CareOne at King James, ‘King James Acquisition Company, LLC (“collectively
referred to herein as “CareOne’) are a family-owned and operated health care continuum

providing post-acute rehabilitation, long term and assisted living care, respite care, and

memory care throughout New Jersey.
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2. Defendant King James Care Center of Middletown, LLC a/k/a CareOne At
King James and King James Acquisition Company, LLC is one of CareOne’s locations with
a business address of 1040 Route 36, Atlantic Highlands, NJ 07716 (“King James”).

3. Defendant ABC Companies (1-10) are fictitious sole proprietorships,
companies, limited liability companies, corporations, partnerships, and/or other
companies/entities who are unknown to Plaintiff at this time but who may be identified
during discovery in this matter, which persons and/or companies are related, affiliated
and/or successors to CareOne and liable to Plaintiff as Plaintiff's employer for the reasons
set forth herein.

4, Defendant Michael Gentile was employed by CareOne as the Administrator
at the King James location at all times relevant in this matter. Upon information and belief,
Defendant Gentile resides in New Jersey. |

5. Plaintiff began his employment with CareOne and King James at the King
James lacation in or about December, 2006 in the position of rnaintenance assistant

6, In or about August, 2007, Plaintiff was prornoted to the position of

Maintenance Director. In his new position, Plaintiff was the supervisor of approximately
fi fleen (15) employees.

7. . Plaintiff performed very well in the position of Maintenance Director. In fact,
Plaintiff was recognized by CareOne as the “Employee of the Month” on two separate
occasions in 2007. | |

8. ; In or. about January, 2008, ‘Plaintiff was given an additional title. of

Environmental Services Director, Despite the new title, Plaintiff continued as the
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Maintenance (Director. and remained the supervisor. of approximately fifteen (15)
employees.

9. Inor about August, 2008, Plaintiff sustained a broken leg. As a result of the
injury, Plaintiff requested a leave of absence from work to obtain medical treatment and to
recover from his injury,

10. | However, approximately two (2) weeks into his medical leave, Defendant
Gentile telephoned Plaintiff and demanded that he immediately return to work. Plaintiff
responded that he was unable to return to work because of his broken leg and the doctor
had yet to clear him to return to work. Defendant Gentile responded that he did not care

and if Plaintiff wanted his job, he must immediately return to work.

11, Asaresult of Defendant Gentile’s threat of termination, Plaintiff was forced to
return to work prior to making a full recovery and receiving medical clearance from his

doctor to return to work.

12. After returning to work, Defendant Gentile denied Plaintiff's requests for
intermittent leave so he could attend his doctor appointments and physical therapy
sessions for his broken leg during work hours. Defendant Gentile advised Plaintiff that he
needed to schedule his doctor appointments and physical therapy sessions outside his
regular work hours. In response to Plaintiff advising Defendant Gentile that all his doctor
appointments and physical therapy sessions could not be scheduled outside his regular
work hours, Defendant Gentile stated, “That's your problem.” |

13. Asa result of Defendants’ denial of Plaintiff's requests for medical leave

necessary to make a full recovery from his broken leg, Plaintiff developed a blood clot in
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his broken leg in or about October, 2008.
14. As aresult of developing a blood clot, Plaintiff applied for FMLA leave on or

_ about October 17, 2008.
15. . -After learning that Plaintiff applied for FMLA leave as a result of the blood
clot, Defendant Gentile reprimanded Plaintiff by stating, “How dare you do this, after all |

have done for you?”. Defendant Gentile further told Plaintiff, that he had “lost all respect”

for Plaintiff and “trust” in Plaintiff.

16. In or about January, 2008, Plaintiff returned to work from his FMLA leave.

17. Upon his return to work, Defendant Gentile advised Plaintiff that, as a result
of him taking FMLA leave, Plaintiff was no longer the Maintenance Director and was
stripped of all supervisory responsibilities. Plaintiff also learned that Defendants hired Mr.
John Chiapetta and placed him in Plaintiff's position of Maintenance Director during
Plaintiffs FMLA leave and that Plaintiff now had to directly report to Mr. Chiapetta.

18. Plaintiff complained and objected to Defendants for demoting Plaintiff and
retaliating against him for taking FMLA leave. In response to Plaintiff's complaints,
Defendant Gentile advised Plaintiff that, “I can do whatever | want." Defendant Gentile
also warned Plaintiff that he was “going to see to it that you fail.” |

19. Plaintiff complained to the human resource manager at King James, Eric
Russell, concerning Defendant Gentile’s harassment and Defendants’ decision to demote
Plaintiff in. retaliation for taking FMLA leave. In response to Plaintiff's complaints, Mr.
Russell informed Plaintiff that, “I am not getting involved.”

20. As a result, Plaintiff then complained to a regional HR representative
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concerning Defendant Gentile’s harassment and Defendants’ decision to demote Plaintiff
in retaliation for taking FMLA leave. The assigned HR representative responded that she
‘would “look into it” and would “get back” to him. Plaintiff, however, never received any
further communication from this HR representative in response to his complaints.

21. Additionally, true to his word, Defendant Gentile made every effort to see to it
that Plaintiff fail.

22. Additionally, Defendant Gentile constantly mocked Plaintiff as a result of his
disability and routinely cursed at Plaintiff, by yelling “move f***ing faster” and “stop f***ing
procrastinating.” Gentile began assigning Plaintiff tedious, unnecessary and unduly
burdensome job assignments. For instance, Defendant Gentile began requiring that
Plaintiff fill outa Maintenance Room Check List that Defendant Gentile specifically created
for Plaintiff to fill out for every room that he was required to check and make ready.

23. Inorabout June, 2009, Plaintiff slipped on the wet floor at work and suffered

-— aninjury to his knee. As a result of his injury, Plaintiff's doctor recommended that Plaintiff
be placed on light duty, including no climbing, lifting, pushing or pulling of anything over 20
| | pounds.

24, As a result of his injury and doctor’s orders, Plaintiff requested that
Defendants provide him light duty job assignments and that any d uties Plaintiff was unable

to perform as a result of his disability be reassigned to another employee.
25, Plaintiff's request for the aforesaid reasonable accommodations was denied
by Defendants. _ |

26. Around the time Plaintiff suffered his knee injury, Plaintiff's supervisor, John
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Chiapetta, instructed Plaintiff to stop filling out the Maintenance Room Check List so that
he had more time to complete other job duties that Mr. Chiapetta advised were “more
important.” Despite Mr. Chiapetta’s instruction, Plaintiff received a written warning on
August 4, 2009 from Defendant Gentile for failing to timely complete the Maintenance
Room Check Lists.

27, Despite his disabilities, medical leave and constant harassment and
retaliation directed at him from Defendant Gentile for same, Plaintiff's job performance was
always “good” to “outstanding,”

28. Infact, in the fall, 2009, Plaintiff was told that he would receive a raise. In an
email to Plaintiff dated October 2, 2009, Defendant Gentile wrote:

Brian, based upon my records, your annual review and 2%
increase is over due. Further review of same supports the
need to adjust your increase effective date to May 09 due to
your leave of absence from work from 10/19/08 to 1/05/09. As
such, your increase will be effective and retroactive to May 09.

| will prepare your annual review with John and present it to
you sometime next week. Please see me if you have any

questions.
29. Thereafter, Plaintiff was provided a performance appraisal which rated

Plaintiff's work performance as “good” or “outstanding” in all categories. |

30. Despite Plaintiff's “good” to “outstanding” work performance, Defendant
Gentile continued to harass and retaliate against Plaintiff as a result of his disability,
medical leaves, requests for reasonable accommodations and complaints of Defendant
Gentile relating to same.

31. Plaintiff continued to complain to Defendant about Gentile’s conduct.

Despite Plaintiff's complaints, no one from CareOne did anything to assist Plaintiff,
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investigate Plaintiff's complaints or stop Defendant Gentile’s harassment and retaliation of
Plaintiff. .

32; » On November 9, 2009, Plaintiff was reprimanded by his supervisor John
Chiapetta.for refusing to lie to the Director of Nursing by telling them that Mr. Chiapetta was
present at work, when in fact, he had not yet arrived at work. As.a result of the incident,
Plaintiff was suspended for one day by Defendants.

33. Later that day, Plaintiff telephoned CareOne’s HR Department and
complained to Ms. Karen Ashmore about Defendant Gentile’s continued harassment and
retaliation and to further inquire as to the reasons why he was being suspended. During
the telephone call, Plaintiff also requested that Ms. Ashmore investigate and stop the
ongoing harassment and retaliation directed at him by Defendant Gentile. Ms. Ashmore
responded that she would look into it and call him back.

34. Approximately one hour after complaining to Ms. Ashmore, Defendant Gentile
telephoned Plaintiff and advised him that he was now being suspended for an additional
day for complaining to HR. Defendant Gentile further advised Plaintiff that he was also
being required to attend a meeting with Defendant Gentile at 3:00 p.m. the following day.

35, After speaking with Defendant Gentile and being suspended an additional
day in retaliation for his complaints, Plaintiff telephoned Ms. Ashmore to complain about
the additional suspension of one day and to repeat his complaints concerning Defendant
Gentile’s harassment and retaliation. In response, Ms. Ashmore advised Plaintiff that there
was nothing she. could do to assist him. As a result, Plaintiff requested that Ms. Ashmore

provide him a name of someone who could assist him. Ms, Ashmore responded that
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Plaintiff could try bringing his complaints to Mr. Kenneth Keegen.

36. Prior to his meeting with Defendant Gentile, Plaintiff wrote a letter to Mr.
Keegen repeating his complaints concerning Defendant Gentile’s continued harassment
and retaliation’ of Plaintiff as a result of his disability, medical leave and requests for
accommodations. In this letter; Plaintiff wrote:

vO The reason | am writing to you is to inform you of the ongoing
harassment and retaliation directed toward me and to request
your assistance to make it stop. | have made previous
complaints to my supervisors, local human resource
representative and regional human resource representative.
Despite my complaints, nothing has been done and the
harassment and retaliation continues to escalate.

| have been harassed and retaliated against since | was forced
to take a medical leave as a result of a broken leg sustained in

August, 2008...
37.: Plaintiff's letter further reads:

.The ongoing harassment/retaliation has caused me to sustain
severe chest pains, stress and anxiety. | have been prescribed |
xanax and ambien by my doctor.. The stress and anxiety | am
under at work has caused tremendous hardship at home with

my wife and with my.children. My performance evaluations
show that | am an outstanding employee of Care One. | only
request the assistance that | am entitled to under the law and.
. for the harassment/retaliation to stop. | recommend that Mr.
Gentile undergo sensitivity training and for him-to be informed
and understand his. obligations under the law.

38. = At: the meting Plaintiff was told by Defendant Gentile that he was aware that
Plaintiff wrote a , letter to CareOne’s corporate off ce, and as a result, he was now

suspended indefinitely.

39. The next day, Plaintiff received a phone call from Defendant Gentile advising

him that he was terminated.
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40. Noone from CareOne contacted Plaintiff to discuss his complaints and/or
allegations in.his letter, Instead, Defendant terminated Plaintiff, .,
41. . In a letter dated November 12, 2009, Defendant Gentile wrote to Plaintiff
concerning Defendants’ reason for his termination as follows:
We have now completed a full review of your overall.job
performance. This letter is to inform you that based on our
review, your employment with CareOne at King James has
' been terminated due to continued unsatisfactory job
performance.

42. As aresult of Defendants’ conduct, Plaintiff has suffered physical injury,

emotional distress, economic loss and other compensatory damages.

FIRST COUNT
NEW JERSEY LAW AGAINST DISCRIMINATION - DISABILITY DISCRIMINATION
N.J.S.A. 10:5-1 et seq. (*NJLAD")

43. Plaintiff repeats and realleges each of the prior allegations of the within
Complaint as if set forth at length herein.

44, During his employment, Plaintiff suffered from a broken leg, a blood cot
(which formed in the broken leg), and a sprained knee. The aforesaid conditions
constitute disabilities and/or handicaps under the NJLAD.

45. Defendants took adverse employment actions against Plaintiff, including,
harassing Plaintiff, demoting Plaintiff, denying Plaintiff's requests for reasonable

accommodations, and terminating Plaintiff's employment, as a result of Plaintiff's

disabilities.
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46. The aforesaid adverse employment actions taken by Defendants because of
Plaintiff's disabilities are a violation of the NJLAD.

47. | Defendant Gentile participated in, condoned, ratified, perpetuated, conspired,
incited, coerced, induced and/or aided and abetted the NJLAD violations.

48. As a result of Defendants’ conduct, Plaintiff has suffered, physical injury,

emotional distress, economic loss and other compensatory damages.

WHEREFORE, Plaintiff, demands judgment against Defendants for harm suffered
due to the aforesaid NJLAD violations as follows:

a. Back pay and benefits;

b, Front pay and benefits;

C. Compensatory damages;
d. Consequential damages;
e. Punitive damages;
ee  Pre-judgment interest and enhancements to off-set negative tax
consequences;
 g. Any and all attorneys fees, expenses and/or costs, including, but not limited

~ to, court costs, expert fees and all attorneys fees incurred by plaintiff in the
prosecution of this suit (including enhancements thereof required to off-set
negative tax consequences and/or enhancements otherwise permitted under

law); and,

“hh Such other relief as may be available pursuant to the NJLAD and which the
Court deems just and equitable.

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SECOND COUNT
_NJLAD - RETALIATION .

49. Plaintiff repeats and reallegés each of the prior allegations of the within
Complaint as if set forth at length herein. |

50, As set forth above, Defendants’ conduct and/or treatment of Plaintiff,
including the termination of his employment, were in retaliation for the protests and
complaints Plaintiff made concerning disability discrimination, retaliation, failure to
reasonably accommodate his disabilities, the hostile work environment and other illegal
and discriminatory conduct directed toward him by Defendants.

51. Defendant Michael Gentile condoned, ratified, perpetuated, conspired,
incited, coerced, induced and/or aided and abetted the retaliatory conduct and actions
taken against Plaintiff.

52. Said actions violate the NJLAD.

‘53, | Byreason of the actions complained of above, Plaintiff has suffered physical
injury, emotional distress, economic loss and other compensatory damages. .

WHEREFORE, Plaintiff demands judgment against Defendants for harm suffered
due to the aforesaid NULAD violations as follows:

a. Back pay and benefits;

b, | Front pay and benefits;

C. Compensatory damages;
d. | Consequential damages; |
e, Punitive damages;

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f. Pre-judgment interest and enhancements to off-set negative tax
consequences;
g. Any and all attorneys fees, expenses and/or costs, including, but not limited

to, court costs, expert fees and all attorneys fees incurred by plaintiff in the
prosecution of this suit (including enhancements thereof required to off-set
negative tax consequences and/or enhancements otherwise permitted under
law); and
h. Such other relief as may be available pursuant to the NJLAD and which the
Court deems just and equitable.
THIRD COUNT
NJLAD - FAILURE TO REASONABLY ACCOMMODATE
54. Plaintiff repeats and rea!leges each of the prior allegations of the within
Complaint as if set forth at length herein.
55. Attimes during his employment, Plaintiff required and requested light duty
and several medical leaves of absence from work as a result of his disabilities/handicaps.
56. Defendants were legally required to reasonably accommodate Plaintiff's
handicaps/disabilities, but failed to do so.
57. Defendants were also legally required to engage with Plaintiffin an interactive
process to determine what reasonable accommodations could be provided to Plaintiff.
58. Plaintiff performed his job duties in a “good” or “outstanding” manner.
59. With a reasonable accommodation, such as permitting Plaintiff to take the
requested leaves of absence or providing Plaintiff light duty tasks/responsibilities, Plaintiff

would have been able to return and/or continue to work and perform the essential functions

of his job.

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60. Defendants failure to reasonably accommodate Plaintiff caused Plaintiff to
suffer physical injuries and adverse job consequences in the form ofa demotion which
resulted in the loss of his job status and supervisory responsibilities and, eventually, the
termination of his employment with Defendants.

61. The Defendants’ failure to reasonably accommodate Plaintiff constitutes a
violation of the NJLAD.

62. Defendant Michael Gentile participated in, condoned, ratified, perpetuated,
conspired, incited, coerced, induced and/or aided and abetted the NJLAD violations.

63. | Byreason of the actions complained of above, Plaintiff has suffered physical
injury, emotional distress, economic loss and other compensatory damages,

WHEREFORE, Plaintiff demands judgment against Defendants for harm suffered
due to the aforesaid NJLAD violations as follows:
| a. Back pay and benefits;

b. Front pay and benefits:

C. Compensatory damages;

d. Consequential damages;

e. Punitive damages;

f, Pre-judgment interest | and enhancements to off-set negative tax

" eonsequences;

g. Any and all attorneys fees, expenses and/or costs, including, but not limited
. to, court costs, expert fees and all attorneys fees incurred by plaintiff in the
prosecution of this suit (including enhancements thereof required to off-set
negative tax consequences and/or enhancements otherwise permitted under

law); and

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h. Such other relief as may be available pursuant to the NJLAD and which the
‘Court deems just and equitable. . a
ae FOURTH COUNT
NJLAD - HOSTILE WORK ENVIRONMENT
64. Plaintiff repeats and realleges each of the prior allegations of the within
Complaint as if set forth at length herein.
65. Defendants' acts as set forth herein constitute a severe and pervasive hostile
work environment based upon disability in violation of the NJLAD.
66. Defendant Michael Gentile participated in, condoned, ratified, perpetuated,
conspired, incited, coerced, induced and/or aided and abetted the NJLAD violations.
67. Asa result of the hostile work environment, Plaintiff has suffered physical
injury, emotional distress, economnic loss and other compensatory damages.
| WHEREFORE, Plaintiff demands judgment against Defendants for harm suffered
due to the aforesaid NJLAD violations as follows:
| a, Back pay and benefits; .

b, Front pay and benefits;

CG. Compensatory damages;
de Consequential damages;
e. Punitive damages; |
if. . _.Pre-judgment interest and enhancements to off-set. negative _ tax
consequences;
g. Any and all attorneys fees, expenses and/or costs, including, but not limited

_to, court. costs, expert fees and all attorneys fees incurred by plaintiff in the
prosecution of this suit (including enhancements thereof required to off-set

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negative tax consequences and/or enhancements otherwise permitted under
law); and

h. Such other relief as may be available pursuant to the NJLAD and which the
Court deems just and equitable. .

FIFTH COUNT

VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT
. 29 U.S.C. § 2601, et seq.

68. Plaintiff repeats and realleges each of the prior allegations of the within
complaint as if set forth at length herein.

69. Asaresult of Plaintiff's serious medical conditions, including his broken leg
and blood clot formed in his broken leg, Defendants were required to advise Plaintiff of his
medical leave rights and to permit Plaintiff to take medical leave in accordance with the
Family and Medical Leave Act, 29 U.S.C. § 2601, et. seq. (“FMLA”).

70, At all relevant times, CareOne was an employer within the meaning of the

FMLA

71. ~~ Atall relevant times, Plaintif was an eligible employee within the meaning of
the FMLA.
72. Plaintiff did not understand his rights under the FMLA.
| 73. By their actions, Defendants unlawfully interfered with, restrained, retaliated
against and denied the exercise of and/or Plaintiff's ability to exercise rights provided by
the FMLA. Plaintiff has been prejudiced by Defendants’ FMLA violations.
74, Defendant Michael Gentile participated in, condoned, ratified, perpetuated,

conspired, incited, coerced, induced and/or aided and abetted the FMLA violations.

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75,

FMLA.

76,

The aforesaid conduct by Defendants was, and is, a willful violation of the

As a direct and proximate result of Defendants’ willful violation of the FMLA,

Plaintiff has suffered physical injury, emotional distress, economic loss and other

compensatory damages.

WHEREFORE, Plaintiff demands judgment against Defendants for harm suffered

due to the aforesaid FMLA violations as follows:

A,

Compensatory damages equal to all wages, salary, employment benefits,
and other compensation denied or lost by Plaintiff, pursuant to 29 U.S.C.

§2617(a)(1)(A)(I)(1);

| Pre-judgment interest pursuant to 29 U.S.C, §2617(a)(1)(A)(ii);

Liquidated damages pursuant to 29 U.S.C. §2617(a)(1)(A)(iii);

Attorneys fees, expert witness fees and costs pursuant to 29 U.S.C.
§2617(a)(3);

Post-judgment interest and enhancements to off-set negative tax

" consequences; and

Such further relief as the Court deems equitable and just.

SIXTH COUNT

BREACH OF CONTRACT

77. Plaintiff repeats and realleges each of the prior allegations of the within

Complaint as if set forth at length herein. _

78,

On or about October 2, 2009, Plaintiff was promised by Defendants that he

would receive a 2% increase in his salary, fetroactive from May, 2009,

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79.

Despite its contractual obligation to pay Plaintiff a 2% increase of his salary

retroactive from May, 2009, Defendants failed to pay same in accordance therewith.

80.

Plaintiff has been damaged by Defendants’ breach of contract.

* WHEREFORE, Plaintiff, demands judgment against Defendants, as follows:

A
B.
C,
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Back pay and benefits;
Front pay and benefits;
Compensatory damages;

Consequential damages;

Punitive damages;

Attorneys fees, interest, expenses and/or costs; and

Such other relief as may be available and which the Court deems just and
equitable.

SMITH, SMITH & CURLEY, P.C.

DATED: March 5, 2010 BY: GANCTE

CHRISTOPHER J. EIBELER
Attorney for Plaintiff

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